Case 1:22-cv-01048 Document 2 Filed 12/06/22 Page 1 of 8
Case 1:22-cv-01048 Document 2 Filed 12/06/22 Page 2 of 8
Case 1:22-cv-01048 Document 2 Filed 12/06/22 Page 3 of 8
Case 1:22-cv-01048 Document 2 Filed 12/06/22 Page 4 of 8
Case 1:22-cv-01048 Document 2 Filed 12/06/22 Page 5 of 8
Case 1:22-cv-01048 Document 2 Filed 12/06/22 Page 6 of 8
Case 1:22-cv-01048 Document 2 Filed 12/06/22 Page 7 of 8
Case 1:22-cv-01048 Document 2 Filed 12/06/22 Page 8 of 8
